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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,               CR. NO. 2:11-511 WBS
13                Plaintiff,                 ORDER RE: MOTION FOR JUDGMENT
                                             OF AQUITTAL ON COUNT THREE
14       v.
15   ANDREW B. KATAKIS, DONALD M.
     PARKER, and W. THEODORE
16   LONGLEY,
17               Defendants.
18

19                                 ----oo0oo----

20             In the Superseding Indictment, the government charged
21   defendant Andrew Katakis with violation of the Sherman Antitrust
22   Act, 15 U.S.C. § 1; conspiracy to commit mail fraud, 18 U.S.C. §
23   1349; and obstruction of justice, 18 U.S.C. § 1519.         After a
24   twenty-three-day jury trial, the jury found Katakis guilty of the
25   Sherman Antitrust and obstruction of justice charges but was
26   unable to reach a verdict on the conspiracy to commit mail fraud
27   charge.   (Docket No. 277.)    Pursuant to Federal Rule of Criminal
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1    Procedure 29, Katakis seeks a judgment of acquittal on the Third

2    Count for obstruction of justice.

3                The Superseding Indictment charged and the evidence at

4    trial established that the government began an investigation in

5    2009 of anti-competitive conspiracies between Katakis and other

6    purchasers at public foreclosure auctions in San Joaquin County,

7    California.    As part of that investigation, the government

8    subpoenaed bank records for Katakis and his company from Oak

9    Valley Community Bank on August 27, 2010.       In response to the

10   subpoena, the bank sent Katakis a letter on September 1, 2010

11   informing him of the subpoena and providing him with a copy of

12   it.     The Superseding Indictment charged that Katakis violated §

13   1519 “[i]n or about September 2010” when he “deleted and caused

14   others to delete electronic records and documents” and “installed

15   and used and caused others to install and use a software program

16   that overwrote deleted electronic records and documents so that

17   they could not be viewed or recovered.”       (Docket No. 136 at 8:27-

18   9:5.)

19               In its case-in-chief, the government primarily, if not

20   exclusively, pursued the obstruction of justice charge by seeking
21   to establish that Katakis purchased and ran a program called

22   DriveScrubber 3 (“DriveScrubber”) on at least four computers and

23   the company mail server shortly after he received a copy of the

24   subpoena.    According to the initial testimony from the

25   government’s expert, the program successfully deleted emails on

26   Katakis’s Dell computer, Steve Swanger’s Asus computer, and the
27   company mail server.     To rebut this evidence, Katakis offered

28   expert testimony that discredited the testimony from the
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1    government’s expert.    Katakis timely moved for a judgment of

2    acquittal pursuant to Rule 29(b) and, during argument, the

3    government indicated it would pursue the obstruction of justice

4    charge based on Katakis’s alleged manual deletion of emails

5    independent of running DriveScrubber.

6              As provided for in Rule 29(b), the court reserved

7    ruling on the motion until after the jury returned a verdict.

8    See Fed. R. Crim. P. 29(b) (“The court may reserve decision on

9    the motion, proceed with the trial (where the motion is made

10   before the close of all the evidence), submit the case to the

11   jury, and decide the motion either before the jury returns a

12   verdict or after it returns a verdict of guilty or is discharged

13   without having returned a verdict.”).       Because the jury returned

14   a verdict of guilty against Katakis on the obstruction of justice

15   charge, the court will now address his motion for acquittal.

16             Pursuant to Rule 29(a), “the court on the defendant’s

17   motion must enter a judgment of acquittal of any offense for

18   which the evidence is insufficient to sustain a conviction.”

19   “A motion for Judgment of Acquittal is reviewed on a sufficiency-

20   of-the-evidence standard.”     United States v. Graf, 610 F.3d 1148,
21   1166 (9th Cir. 2010) (quoting United States v. Stoddard, 150 F.3d

22   1140, 1144 (9th Cir. 1998)).     “Under that standard, evidence

23   supports a conviction, if, viewed in the light most favorable to

24   the government, it would allow any rational trier of fact to find

25   the essential elements of the crime beyond a reasonable doubt.”

26   Id. (quoting Stoddard, 150 F.3d at 1144).
27             For the jury to have found Katakis guilty of

28   obstruction of justice, it had to find that the government proved
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1    each of the following elements beyond a reasonable doubt:

2
          [1]    that  defendant   Katakis    knowingly    altered,
3         destroyed,   or   concealed    electronic    records   or
          documents; [2] that defendant Katakis acted with the
4         intent    to  impede,   obstruct,    or    influence   an
          investigation that he either knew of or contemplated;
5
          and [3] that the investigation was about a matter by
6         or within the jurisdiction of the United States
          Department   of   Justice    or    Federal    Bureau   of
7         Investigation.

8    (Jury Instruction No. 20 (Docket No. 268)); see also 18 U.S.C. §

9    1519 (“Whoever knowingly alters, destroys, mutilates, conceals,

10   covers up, falsifies, or makes a false entry in any record,

11   document, or tangible object with the intent to impede, obstruct,

12   or influence the investigation or proper administration of any

13   matter within the jurisdiction of any department or agency of the

14   United States or any case filed under title 11, or in relation to

15   or contemplation of any such matter or case, shall be fined under

16   this title, imprisoned not more than 20 years, or both.”).1       The

17   Superseding Indictment charged that Katakis violated § 1519 and

18   did not charge him with attempt.      Under the first element, the

19   government thus had to show that Katakis destroyed or concealed

20   electronic documents or records, not merely that he attempted or

21   even intended to do so.

22             The government’s theory in support of the obstruction

23   of justice charge focused on ten Microsoft Outlook emails

24   primarily between Katakis and Swanger sent between September 9,

25   2008 and July 20, 2009.     (Tr. 2407:15-17, 2409:9-11, 2414:11-18;

26   Gov’t’s Exs. 112, 141, 142, 145, 150, 157, 166, 168, 172, 175.)

27
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               The government did not argue and there was no evidence
28   suggesting that Katakis altered electronic records or documents.
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1    The government established that it was unable to find any of the

2    ten emails on Katakis’s Dell computer, Swanger’s Asus computer,

3    or the mail server.    (Tr. 2417:23-2418:4.)      All ten emails were

4    found, however, in the deleted items bin on Swanger’s Dell

5    computer.    (Tr. 2418:5-10.)   The government now argues that the

6    jury’s verdict can be upheld based on one of three theories: (1)

7    Katakis deleted the ten emails on his Dell computer, Swanger’s

8    Asus computer, and the mail server and then overwrote them using

9    DriveScrubber; (2) Katakis manually deleted the ten emails on his

10   Dell computer, Swanger’s Asus computer, and the mail server; or

11   (3) Katakis manually moved the ten emails to the deleted items

12   folder in Swanger’s Dell computer.      The court has no doubt that

13   the government initially intended to pursue the obstruction of

14   justice charge based solely on the first theory, but resorted to

15   the second and third theories after the first theory failed.         In

16   its closing argument, the government told the jury: “All you have

17   to do is find that Andrew Katakis hit the delete button.          That’s

18   it.   It’s that simple.”    (Tr. 3240:5-7.)

19         1.    DriveScrubber

20               The government offered sufficient evidence for a jury
21   to find that Katakis purchased DriveScrubber on September 3, 2010

22   and that he installed and ran it on his Dell computer on

23   September 3, on Swanger’s Asus and Dell computers and the mail

24   server on September 4, and on another computer on September 15.

25   (See Tr. 2449:22-2456:1.)     The undisputed evidence at trial was

26   that DriveScrubber overwrites and therefore permanently deletes
27   files on the free space of a computer.

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1                To prove that Katakis used DriveScrubber to overwrite

2    the emails, the government offered the testimony of FBI Special

3    Agent/Computer Forensic Examiner Scott Medlin.        Agent Medlin

4    opined that the ten emails were no longer on Katakis’s Dell

5    computer, Swanger’s Asus computer, or the mail server because

6    they had been double-deleted and then overwritten by

7    DriveScrubber.   Agent Medlin explained that this could occur if a

8    user deletes an email in Outlook, then double-deletes the email

9    by deleting the email from the Outlook deleted items bin.

10   According to Agent Medlin’s testimony during the government’s

11   case-in-chief, when an Outlook email is double-deleted, the email

12   is sent to the free space of the computer.        (Tr. 2404:11-23.)

13   Because none of the ten emails could be found on Katakis’s Dell

14   computer, Swanger’s Asus computer, or the mail server, and

15   Katakis had installed DriveScrubber on those devices, Agent

16   Medlin concluded that Katakis must have double-deleted the emails

17   and then used DriveScrubber to overwrite them in the free space.

18   (Tr. 2418:21-22, 2419:30-24, 2420:20-25.)

19               Katakis, however, offered expert testimony from Donald

20   Vilfer that discredited Agent Medlin’s testimony and the
21   government’s theory.    Vilfer testified that, because the

22   computers and mail server at issue were part of a Microsoft

23   Exchange Database, emails were sent directly to the Exchange

24   Database upon double-deletion.      (See Tr. 2992:21-2993:2, 2993:14-

25   2994:18.)   Vilfer explained that DriveScrubber could not have

26   deleted any of the double-deleted emails from the free space
27   because, as they were stored in the Exchange Database, they never

28   entered the free space.     (Tr. 3002:15-3003:11, 3006:6-10.)        He
                                         6
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1    further explained that DriveScrubber could not affect a double-

2    deleted email stored in the Exchange Database unless the entire

3    operating system for a computer or mail server was “scrubbed” so

4    that nothing remained.2    (Tr. 3001:20-3002:14.)

5              In light of Vilfer’s testimony, the government recalled

6    Agent Medlin in its rebuttal case.      Departing from his earlier

7    testimony, Agent Medlin confirmed the accuracy of Vilfer’s

8    testimony: that double-deleted Outlook emails on the computers

9    and mail server could not have been affected by DriveScrubber

10   because they were stored in the Exchange Database and never

11   entered the free space on the computers or mail server.           (See Tr.

12   3084:6-23.)

13             A rational jury could not have found that Katakis

14   destroyed or concealed any of the emails in question using

15   DriveScrubber because the undisputed evidence from both experts

16   at trial was that DriveScrubber could only overwrite emails in

17   the free space of the computers or mail server and the emails

18   never entered the free space.

19        2.   Manual Deletion from Katakis’s Dell Computer, Swanger’s

20             Asus Computer, and the Mail Server
21             There was no testimony at trial about Katakis manually

22   deleting the emails on his Dell computer, Swanger’s Asus

23   computer, or the mail server.      Although Swanger testified that he

24   saw Katakis searching for documents prior to running

25   DriveScrubber on his Asus computer, when asked whether he

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27        2
               The government neither suggested nor presented evidence
     indicating that Katakis scrubbed, or destroyed, the operating
28   systems of the computers or mail server.
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     Case 2:11-cr-00511-WBS Document 317 Filed 05/09/14 Page 8 of 17


1    “observe[d] Andrew Katakis deleting any documents,” Swanger

2    testified: “I wasn’t sure if he was -- what he was doing.         I saw

3    him on [the Asus computer], clicking and moving things around,

4    but I -- I didn’t -- I didn’t pay attention closely, on that

5    computer, what it was he was doing.”       (Tr. 2144:24-2145:3.)

6    Swanger also “wasn’t quite sure what was deleted and what wasn’t

7    [on the Asus], because [he] didn’t have a clear memory of what

8    was there.”    (Tr. 2146:19-24; see also Tr. 2138:6-11 (Swanger

9    testifying that he used the Dell computer “[p]rimarily for

10   emails” and the Asus computer for “[i]nternet searches, and, when

11   I’d comp properties, MLS, that kind of stuff”).)

12             The government was thus left to rely on the inference

13   that, because the ten emails in question were not found on

14   Katakis’s Dell computer, Swanger’s Asus computer, or the mail

15   server, Katakis must have double-deleted them.        (See Tr. 3240:12-

16   16 (“Those e-mails were deleted, and there is only one reasonable

17   explanation.    Andrew Katakis had the motive and the means to

18   erase the evidence against him, to keep his hands clean, just

19   like he tried to do with his involvement with the rounds.”); Tr.

20   3240:8-9 (relying on Katakis’s use of DriveScrubber to show “what
21   was going through [his] mind”); see also 3236:15-3237:11.)

22             In deciding Katakis’s Rule 29 motion, the court must

23   accept this inference in favor of the government and assume the

24   jury could have found that Katakis double-deleted the emails on

25   his computer, Swanger’s Asus computer, and the mail server.         See

26   United States v. Nevils, 598 F.3d 1158, 1164 (9th Cir. 2010)
27   (“[W]hen ‘faced with a record of historical facts that supports

28   conflicting inferences’ a reviewing court ‘must presume--even if
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1    it does not affirmatively appear in the record--that the trier of

2    fact resolved any such conflicts in favor of the prosecution, and

3    must defer to that resolution.’” (quoting Jackson v. Virginia,

4    443 U.S. 307, 326 (1979))).     The court will also assume for

5    purposes of deciding this motion that double-deleting an email is

6    sufficient to destroy or conceal the email.

7              Nonetheless, even when the court makes these

8    assumptions in favor of the government, there is still

9    insufficient evidence for a jury to have found that Katakis

10   violated § 1519.   To sustain a conviction, the government had to

11   prove that Katakis destroyed or concealed evidence with the

12   intent to obstruct an investigation that he knew of or

13   contemplated.   (See Jury Instruction No. 20); 18 U.S.C. § 1519.

14   To establish the requisite intent under § 1519, the government

15   thus had to show that when Katakis double-deleted the emails he

16   knew of or contemplated the investigation at that time.

17             In order to make that showing, the government charged

18   in the Superseding Indictment that Katakis obstructed justice “in

19   or about September 2010.”     The government charged that time

20   period based on its theory that Katakis learned about the
21   investigation when he received a copy of the bank subpoena on

22   September 1, 2010.    As the court instructed the jury, “The

23   government need not prove beyond a reasonable doubt the exact

24   date of each alleged offense.      It is sufficient if the government

25   proves beyond a reasonable doubt that each offense was committed

26   on a date or dates reasonably near the date or dates charged.”
27   (Jury Instruction No. 12)

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1               While there was sufficient evidence for the jury to

2    find that Katakis knew about the investigation in September

3    2010,3 there was no evidence from which the jury could have

4    inferred that Katakis double-deleted the emails on a date

5    “reasonably near” September 2010.        In fact, there was not even

6    circumstantial evidence from which the jury could have inferred

7    an approximate date when Katakis double-deleted the emails.

8               Establishing when Katakis double-deleted the emails was

9    crucial for the government to prove that he did so with the

10   requisite intent.    Deleting emails and emptying them from a

11   deleted items bin in the ordinary course of business is a common

12   and legal practice and intent under § 1519 therefore cannot be

13   inferred exclusively from the fact that an incriminating email

14   was deleted or double-deleted at some unknown time.          See United

15   States v. Delgado, 357 F.3d 1061, 1068 (9th Cir. 2004) (“[W]hen

16   there is an innocent explanation for a defendant’s conduct as

17   well as one that suggests that the defendant was engaged in

18   wrongdoing, the Government must produce evidence that would allow

19   a rational jury to conclude beyond a reasonable doubt that the

20   latter explanation is the correct one.”).        Absent evidence that
21        3
               There was evidence at trial that Katakis may have known
22   about the investigation as early as a year before he received a
     copy of the bank subpoena. Wiley Chandler testified that he
23   discussed the investigation with Katakis at the time when the
     “round-robins” ceased, which occurred approximately one year
24   before September 2010. (See Tr. 1373:19-1375:17.) The
25   government cannot--and did not--rely on Chandler’s testimony to
     argue that any alleged destruction or concealment in 2009 was
26   sufficient to sustain a conviction because that time period is
     not reasonably near the time period charged in the Superseding
27   Indictment. See United States v. Hinton, 222 F.3d 664, 672-73
     (9th Cir. 2000) (discussing cases).
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1    an individual contemplated or knew about an investigation, that

2    individual cannot be required to depart from his common practice

3    in an effort to preserve all evidence that the government may

4    want to use against him in a hypothetical investigation that the

5    individual is not even contemplating.         Cf. United States v.

6    Yielding, 657 F.3d 688, 711 (8th Cir. 2011) (“[T]he statute does

7    not impose liability for ‘knowingly . . . destroy[ing] . . . any

8    . . . document . . . in . . . contemplation of any [federal]

9    matter,’ without an intent to impede, obstruct, or influence a

10   matter.   If it did, then the statute would forbid innocent

11   conduct such as routine destruction of documents that a person

12   consciously and in good faith determines are irrelevant to a

13   foreseeable federal matter.” (alterations and omissions in

14   original)).

15              Here, as charged in the Superseding Indictment,

16   Katakis’s double-deletion of the emails before September 1 and

17   the eventual overwriting of them within the Exchange Database

18   cannot sustain a guilty verdict.         (See Tr. 2989:3-2992:18 (Vilfer

19   explaining how the Exchange Database works and that it overwrote

20   double-deleted emails after fourteen days); 3090:23-3091:15
21   (Agent Medlin affirming that emails in the Exchange Database are

22   overwritten “in normal course . . . all the time, every single

23   day”).)   Accordingly, a rational jury could not have found that

24   Katakis violated § 1519 by double-deleting the emails on his Dell

25   computer, Swanger’s Asus computer, or the mail server because

26   there was no evidence from which the jury could infer that he did
27   so with the requisite intent to obstruct investigation that he

28   knew of or contemplated.
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1         3.    Unsuccessful Manual Deletion from Swanger’s Dell

2               Computer

3               The only evidence at trial about Katakis actually

4    deleting emails came from Swanger.       Swanger testified that, when

5    Katakis installed DriveScrubber on Swanger’s Dell computer on

6    Saturday, he saw Katakis deleting emails on that computer and,

7    when Swanger returned to work on Monday, almost all of the emails

8    were gone from his Dell computer.        (Tr. 2145:17-2146:24.)    At

9    trial, however, Agent Medlin and Vilfer testified that the ten

10   emails in question were recovered from the deleted items bin on

11   Swanger’s Dell computer.     (Tr. 2418:5-10, 3046:18-19, 3057:2-4.)

12   In what is unquestionably an eleventh-hour argument, the

13   government contends that placing the emails in the deleted items

14   bin on Swanger’s Dell computer constituted destruction or

15   concealment under § 1519.

16              The undisputed evidence at trial was that deleting an

17   Outlook email places the email in the deleted items bin and the

18   email remains in that folder unless and until a user takes

19   further action.    (Tr. 2403:15-23.)     The user can move the email

20   back into his inbox, into a different Outlook folder, or double-
21   delete the email by deleting it from the deleted items bin.         (Tr.

22   2404:2-10.)   There was sufficient evidence at trial for the jury

23   to find that Katakis deleted the ten emails on Swanger’s Dell

24   computer and thereby moved them from the inbox to the deleted

25   items bin.    There was no evidence or suggestion at trial that

26   Katakis or anyone else double-deleted any of the ten emails on
27   Swanger’s Dell computer.

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1               To sustain a conviction under § 1519, the government

2    must have produced sufficient evidence from which the jury could

3    find that placing the emails in the deleted items bin destroyed

4    or concealed them.      At trial, however, the undisputed evidence

5    was that the ten emails on Swanger’s Dell computer were recovered

6    and thus there was no evidence from which the jury could infer

7    that they were destroyed.     The government cannot simply rely on

8    the label of “deleting” when it is undisputed that “deleting” an

9    email within Outlook simply moves it to another folder where it

10   remains easily accessible.

11              Nor was there any evidence from which a reasonable jury

12   could infer that placing an email in the deleted items bin

13   conceals it from the government.         To the contrary, Agent Medlin,

14   the government’s own expert, testified how easy it is to retrieve

15   an Outlook email from a deleted items bin:

16
          Q. Now, a few questions about deleting e-mails. When
17        someone opens an e-mail in their computer, they open
18        it, they read it, and they hit the delete key, what
          happens to that e-mail?
19
          A.   That e-mail will go to the deleted         items folder.
20        Depending on the program you’re using,         it may not be
          called “deleted items,” may be recycle          bin or trash
21        folder.   But it will be moved to that         folder to sit
          there until you address it.
22

23        Q. Microsoft Outlook is a common program. If you hit
          delete on Microsoft Outlook, which folder does it go
24        into?

25        A.   Microsoft Outlook, it’s called deleted items.
26
          Q.   When the e-mail is in the deleted items folder,
27        can it be retrieved?

28        A.   Yes, ma’am.
                                         13
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1
          Q.   How?
2
          A. One simply opens the deleted items folder and can
3
          retrieve the e-mail, or read it, or move it to another
4         folder.

5         Q.   That’s something the user can do?

6         A.   Yes.
7    (Tr. 2403:15-2404:10.)     There was no testimony from which the
8    jury could infer that an email in a deleted items bin is any more
9    concealed from the government than an email that remains in the
10   inbox or any other folder within Outlook.
11              The government’s reliance on United States v. Kernell,
12   667 F.3d 746 (6th Cir. 2012), to argue that an unsuccessful
13   deletion can be sufficient under § 1519 is also misplaced.            In
14   Kernell, the defendant successfully accessed Sarah Palin’s email
15   account and tried to conceal this action by taking “numerous
16   actions to remove information from the computer relating to his
17   access to the Palin email account.”         667 F.3d at 748-49.    The
18   defendant, however, did not challenge the sufficiency of the
19   evidence supporting the jury’s finding that he knowingly deleted
20   or altered information on his computer with the requisite intent.
21   The defendant challenged only whether his statement on a blog was
22   sufficient evidence from which the jury could have found that he
23   contemplated an investigation at the time he deleted or altered
24   the information on his computer.         Moreover, the defendant in
25   Kernell successfully removed certain information from his
26   computer; he simply did not remove all of the evidence against
27

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            4
1    him.        Here, there was no evidence from which the jury could

2    infer that Katakis successfully removed any part of the emails

3    from Swanger’s Dell computer.

4                  A rational jury therefore could not find that Katakis

5    violated § 1519 by deleting the emails on Sawanger’s Dell

6    computer because there was no evidence from which the jury could

7    infer that Katakis destroyed or concealed the emails.

8           4.     Conclusion

9                  Although the jury heard extensive and complicated

10   evidence regarding the obstruction of justice charge and the

11   government resorted to every theory possible, none of the

12   evidence was sufficient for the jury to find beyond a reasonable

13   doubt that Katakis knowingly destroyed or concealed the emails

14   with the intent to obstruct an FBI investigation that he knew of

15   or contemplated.      (See Jury Instruction No. 20.)     By the close of

16   trial, the undisputed expert testimony was that DriveScrubber

17

18          4
                   In Kernell, the defendant
19          cleared the cache on his Internet Explorer browser,
            removing the record of websites he had visited during
20          that period[;] . . . uninstalled the Firefox internet
            browser, which more thoroughly removed the record of
21          his internet access using that browser[;] ran the disk
            defragmentation   program   on  his   computer,  which
22          reorganizes and cleans up the existing space on a hard
            drive, and has the effect of removing many of the
23          remnants of information or files that had been
            deleted[; and] . . . deleted a series of images that
24          he had downloaded from the Palin email account.
25   Kernell, 667 F.3d at 749. The Sixth Circuit’s decision neither
     indicated nor suggested that the government recovered any of this
26   information. Instead, it noted that “despite the deletions, [the
     computer] contained numerous items related to accessing the Palin
27   email account, including a draft of the ‘Hello’ post.” Id. at
     749.
28
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1    could not have overwritten any of the emails at issue and that

2    Katakis did not successfully destroy or conceal the emails on

3    Swanger’s Dell computer.     With respect to the remaining computers

4    and mail server, there was no evidence establishing that Katakis

5    double-deleted the emails in question in or about the time period

6    alleged in the Superseding Indictment.       The evidence advancing

7    each theory underlying the obstruction of justice charge was

8    therefore materially insufficient for the government to carry its

9    burden.

10              As the Ninth Circuit has explained, the court must

11   grant a Rule 29 motion if “the evidence construed in favor of the

12   government [is] insufficient to establish every element of the

13   crime” and “evidence is insufficient to support a verdict where

14   mere speculation, rather than reasonable inference, supports the

15   government’s case or where there is a ‘total failure of proof of

16   [a] requisite’ element.”     Nevils, 598 F.3d at 1167 (alteration in

17   original) (internal citation omitted) (quoting Briceno v.

18   Scribner, 555 F.3d 1069, 1079 (9th Cir. 2009)).         Accordingly,

19   because a rational jury could not have returned a guilty verdict

20   on the obstruction of justice charge, the court must grant
21   Katakis’s motion for a judgment of acquittal on that charge.

22              IT IS THEREFORE ORDERED that Katakis’s motion for a

23   judgment of acquittal on the Third Count of the Superseding

24   Indictment charging a violation of 18 U.S.C. § 1519 be, and the

25   same hereby is, GRANTED.     The verdict of guilty against Katakis

26   on Count Three is hereby set aside, and the Clerk is instructed
27   to enter a judgment of acquittal in favor of defendant Katakis on

28   Count Three of the Superseding Indictment.
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2    Dated:   May 9, 2014

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